                           Case 17-36723 Document 65 Filed in TXSB on 07/30/19 Page 1 of 6
   Fill in this information to identify the case:

Debtor 1                 Ruth Briggs, Sotonye Briggs
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Southern District of Texas
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             1736723
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             2
                                                                                                   Court claim no. (if known): _______________________
 Wells Fargo Bank, N.A.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           09/09/2019
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             4331.73
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      6 ____
                                                                    ____ 0 ____
                                                                            2 ____
                                                                                6

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

            
            ✔   No
               Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                Current escrow payment: $ _________________                                                 New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
               No
            
            ✔   Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                                                  3.24000
                Current interest rate: __________________%                                                                    4.49000
                                                                                                New interest rate: __________________%

                                                          1169.31
                Current principal and interest payment: $ __________________                                                          1257.00
                                                                                                New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
             ✔
                 No
                 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
                     Ruth Briggs, Sotonye Briggs                                                        1736723
      Debtor 1       Case
                     First Name 17-36723
                                    Middle Name Document      65 Filed in TXSB onCase
                     ________________________________________________________
                                                      Last Name                    07/30/19
                                                                                      number (if known)Page     2 of 6
                                                                                                       ______________________



 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Yadira P Delgado
      ______________________________________________________________
      Signature
                                                                                      07/30/2019
                                                                                Date _______________




 Print:______________________________________________________________
        DELGADO,YADIRA P                                                         VP Loan Documentation
                                                                                ____________________________________________________________
        First Name              Middle Name           Last Name                 Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                   Street

            1000 Blue Gentian Road
            _____________________________________________________________
            Address 2

             Eagan                                   MN      55121-7700
            _____________________________________________________________
              City                                      State        ZIP Code



                     800-274-7025                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
                    Case 17-36723 Document 65 Filed in TXSB on 07/30/19 Page 3 of 6
                        UNITED STATES BANKRUPTCY COURT
                                                      Southern District of Texas


                                                  Chapter 13 No. 1736723
                                                  Judge: Jeff Bohm

In re:
Ruth Briggs, Sotonye Briggs
                                         Debtor(s).

                                         CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before July 31, 2019 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                           By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                   Ruth Briggs, Sotonye Briggs
                                   3206 Rosemary Park Lane

                                   Houston TX 77082



                                  By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                   N/A




Debtor’s Attorney:                By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                   John Ernest Smith
                                   John E Smith & Associates
                                   907 South Friendswood Drive Suite 204

                                   Friendswood TX 77546-5489


                                  By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                   N/A




Trustee:                          By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                   David G Peake
                                   Chapter 13 Trustee
                                   9660 Hillcroft Suite 430

                                   Houston TX 77096-3856

                                                         _______________________________________________
                                                         /s/Yadira P Delgado
                                                         VP Loan Documentation
                                                         Wells Fargo Bank, N.A.
Case 17-36723 Document 65 Filed in TXSB on 07/30/19 Page 4 of 6
Case 17-36723 Document 65 Filed in TXSB on 07/30/19 Page 5 of 6
        Case 17-36723 Document 65 Filed in TXSB on 07/30/19 Page 6 of 6



                                       Addendum Page



The “New total payment” represents the calculated monthly payment for an obligation that
comes due on a bi-weekly basis, by virtue of the terms of the Note and Mortgage. The new
                                      $ 1,999.26 which comes to $ 4,331.73
bi-weekly payment amount is                              when calculated on
a monthly basis (times
                   $ 1,999.26               (X) 26 divided by (/) 12).
